Case 2:19-cv-02183-ODW-JC Document 14-1 Filed 03/29/19 Page 1 of 6 Page ID #:171




     1   P. K. SCHRIEFFER LLP
         Paul K. Schrieffer, Esq. (CSB#151358)
     2   Carol A. Baidas, Esq. (CSB#263036)
     3
         100 North Barranca Street, Suite 1100
         West Covina, California 91791
     4
         Telephone: (626) 373-2444
         Facsimile: (626) 974-8403
     5   Emails: pks@pksllp.com
                 cab@pksllp.com
     6

     7   Attorneys for Defendants, BURTON WAY HOTELS, LLC and FOUR
         SEASONS HOTELS LIMITED
     8

     9                       UNITED STATES DISTRICT COURT
    10        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    11

    12   PAZ DE LA HUERTA,                   )   CASE NO.: 2:19-cv-02183-CAS-JC
    13
                                             )
                     Plaintiff,              )
    14                                       )   DECLARATION OF CAROL A.
    15         vs.                           )   BAIDAS IN SUPPORT OF
                                             )   DEFENDANTS BURTON WAY
    16
         HARVEY WEINSTEIN, an                )   HOTELS, LLC AND FOUR
    17   individual; THE WEINSTEIN           )   SEASONS HOTELS LIMITED’S
         COMPANY, a Delaware LLC;            )   OPPOSITION TO PLAINTIFF PAZ
    18
         FOUR SEASONS HOTEL, LTD; a          )   DE LA HUERTA’S MOTION TO
    19   Canadian Corporation; BURTON        )   REMAND TO STATE COURT
    20   WAY HOTELS, LTD, a California       )
         Limited Partnership; BURTON         )   Date:      April 19, 2019
    21
         WAY HOTELS LLC, a Delaware          )   Time:      10:00 a.m.
    22   LLC; and DOES 1 through 25,         )   Courtroom: 8D
         inclusive,                          )
    23
                                             )   JUDGE: Hon. Christina A. Snyder
    24               Defendants.             )
    25
                                             )   Magistrate: Hon. Jacqueline Chooljian

    26

    27

    28                                           1
         DECLARATION OF CAROL A. BAIDAS IN SUPPORT OF DEFENDANTS BURTON
         WAY HOTELS, LLC AND FOUR SEASONS HOTELS LIMITED’S OPPOSITION TO
          PLAINTIFF PAZ DE LA HUERTA’S MOTION TO REMAND TO STATE COURT
Case 2:19-cv-02183-ODW-JC Document 14-1 Filed 03/29/19 Page 2 of 6 Page ID #:172




     1

     2
         I, CAROL A. BAIDAS, DECLARE:

     3          1.    I am over the age of 18, am a resident of the County of Los Angeles
     4
         and of the State of California. I am an attorney duly licensed to practice law
     5

     6   before all State Courts within the State of California and I am duly admitted to the
     7
         United States District Court, Central District of California.      I have personal
     8

     9   knowledge of the facts herein, and, if called as a witness in a court of law, could
    10
         testify competently thereto.
    11
                2.    I am an associate attorney with the law firm P.K. SCHRIEFFER
    12

    13   LLP.
    14
                3.    Defendants filed a Notice of Removal (hereinafter “the Notice”) to
    15

    16   federal court on March 22, 2019. In paragraph 6 of that Notice, a scrivener’s error
    17
         was made with regard to the date of service of the First Amended Complaint.
    18

    19
         Specifically in line 16 of that paragraph, the date of service is listed as February

    20   19, 2019. The correct date that the First Amended Complaint was served is
    21
         February 20, 2019. This is corroborated by the FedEx mailing receipt attached
    22

    23   hereto, and incorporated by reference herein as Exhibit “A”.
    24
                4.    My understanding of both the state and federal rules of civil
    25

    26   procedure regarding service of a complaint and summons is that service is to be
    27

    28                                            2
         DECLARATION OF CAROL A. BAIDAS IN SUPPORT OF DEFENDANTS BURTON
         WAY HOTELS, LLC AND FOUR SEASONS HOTELS LIMITED’S OPPOSITION TO
          PLAINTIFF PAZ DE LA HUERTA’S MOTION TO REMAND TO STATE COURT
Case 2:19-cv-02183-ODW-JC Document 14-1 Filed 03/29/19 Page 3 of 6 Page ID #:173




     1
         pursuant to state rules, and that service is complete at the time of the deposit of the

     2   item, but any period of notice and any right or duty to make any response, shall be
     3
         extended by two court days when the service is made by express/overnight mail
     4

     5   such as FedEx.
     6
               5.     In addition to being allotted the two (2) extra court days, I believe
     7

     8   that the time to respond to the complaint or First Amended Complaint does not
     9
         begin to run until formal service of the complaint has occurred.
    10
               6.     Formal service of the First Amended Complaint did not occur until
    11

    12   February 20, 2019. As per the rules regarding service by overnight or express
    13
         mail, defendants were entitled to extend their time to respond to the First
    14

    15   Amended Complaint by two (2) court days. FRCP4; C.C.P. § 1013(c). I believe
    16
         that makes the filing of the Notice filed on March 22, 2019, timely. In fact, due to
    17

    18
         there being twenty-eight (28) days in February, defendants timely filed the Notice

    19   on March 22, 2019, without even using the two (2) court days as allowed by
    20
         C.C.P. § 1013(c).
    21

    22   ///
    23
         ///
    24

    25   ///
    26

    27

    28                                             3
          DECLARATION OF CAROL A. BAIDAS IN SUPPORT OF DEFENDANTS BURTON
          WAY HOTELS, LLC AND FOUR SEASONS HOTELS LIMITED’S OPPOSITION TO
           PLAINTIFF PAZ DE LA HUERTA’S MOTION TO REMAND TO STATE COURT
Case 2:19-cv-02183-ODW-JC Document 14-1 Filed 03/29/19 Page 4 of 6 Page ID #:174




     1
               I declare under penalty of perjury under the laws of the State of California

     2   that the foregoing is true and correct. Executed March 29, 2019, at West Covina,
     3
         CA.
     4

     5
                                         /s/ Carol A. Baidas
     6
                                        Carol A. Baidas
     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28                                           4
         DECLARATION OF CAROL A. BAIDAS IN SUPPORT OF DEFENDANTS BURTON
         WAY HOTELS, LLC AND FOUR SEASONS HOTELS LIMITED’S OPPOSITION TO
          PLAINTIFF PAZ DE LA HUERTA’S MOTION TO REMAND TO STATE COURT
Case 2:19-cv-02183-ODW-JC Document 14-1 Filed 03/29/19 Page 5 of 6 Page ID #:175
Case 2:19-cv-02183-ODW-JC Document 14-1 Filed 03/29/19 Page 6 of 6 Page ID #:176
